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     NAZEM AHMED ALNAJAR
 6

 7                           IN THE UNITED STATES DISTRICT COURT
 8
                            FOR THE EASTERN DISTRICT of CALIFORNIA
 9
                                                        ) Case No.: 18-CR-00135 DAD-BAM
10   UNITED STATES OF AMERICA,                          )
                                                        )
11                   Plaintiff,                         ) DEFENDANTS REQUEST AND WAIVER
                                                        ) OF APPEARANCE; ORDER
12           vs.                                        )
                                                        )
13   NAZEM AHMED ALNAJAR,                               )
                                                        )
14                   Defendant                          )
15   Defendant, NAZEM AHMED ALNAJAR , hereby waives his appearance in person in open
16   court upon the Status Conference set for Monday, April 22, 2019 in Courtroom 8 of the above
17   entitled court. Defendant hereby requests the court to proceed in his absence and agrees that his
18   interest will be deemed represented at said hearing by the presence of his attorney, MONICA L.
19   BERMUDEZ. Defendant further agrees to be present in person in court at all future hearing
20   dates set by the court including the dates for jury trial.
21

22   Date: April 16, 2019                                            /s/Nazem Ahamed Alnajar    ___
23
                                                                     Nazem Ahmed Alnajar

24

25
     Date: April 16, 2019                                            /s/Monica L. Bermudez____ ___
                                                                     MONICA L. BERMUEZ
                                                                     Attorney for Defendant



                                  DEFENDANTS REQUEST AND WAIVER OF APPEARANCE   - 1
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 1                                              ORDER

 2                 IT IS HEARBY ORDERED that defendant NAZEM AHMED ALNAJAR is

 3   hereby excused from appearing at this court hearing scheduled for April 22, 2019.

 4
     IT IS SO ORDERED.
 5

 6      Dated:    April 18, 2019                            /s/ Barbara A. McAuliffe     _
                                                      UNITED STATES MAGISTRATE JUDGE
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                            DEFENDANTS REQUEST AND WAIVER OF APPEARANCE   - 2
